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     United States Trustee
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     Attorney for the U.S. Trustee
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4
     Telephone: (714) 338-3400
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5
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6

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8                                     UNITED STATES BANKRUPTCY COURT

9                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
       In re:                                              CASE NUMBER: 8:22-bk-12033-TA
11

12     USMAAN MELA,                                        CHAPTER 7

13
                                                           STIPULATION EXTENDING THE TIME
14                                                         FOR THE U.S. TRUSTEE ONLY TO FILE
                                                           AN ADVERSARY CASE UNDER §727 OR
15                                                         TO FILE A MOTION TO DISMISS CASE
                                                           UNDER §707(b)(3)
16
                                                           [No Hearing Required]
17                          Debtor.
18

19
          TO THE HONORABLE THEODOR ALBERT, CHIEF JUDGE, DEBTOR, DEBTOR’S
20   COUNSEL, AND PARTIES IN INTEREST:

21          The United States Trustee for Region 16 (the “U.S. Trustee”), by and through his attorney,
22
     Kristin T. Mihelic, and the Debtor, Usmaan Mela, by and through his attorney, Ben Heston,
23
     hereby agree and stipulate as follows:
24
            1. Usmaan Mela (the "Debtor") filed an individual Chapter 7 petition on
25

26   November 30, 2022, assigned case number 8:22-bk-12033-TA, and Thomas H. Casey was

27   appointed as Chapter 7 Trustee.
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           2. The current deadline for the U.S. Trustee to file an adversary proceeding objecting to the
1

2    Debtor’s discharge pursuant to 11 U.S.C. §727 or to move for dismissal of the Debtor’s case

3    under 11 U.S.C. §707(b) is March 10, 2023.
4
           3. The U.S. Trustee is continuing to investigate whether there is a basis to file an adversary
5
     proceeding objecting to the Debtor's discharge pursuant to 11 U.S.C. §727 or to move for dismissal of
6

7    the Debtor's case under 11 U.S.C. §707(b). However, as of the date of this Stipulation, the

8    investigation has not been concluded. The U.S. Trustee has requested that the Debtor produce
9    documents concerning his financial and business affairs, and understands that the Debtor is in the
10
     process of gathering the requested information. Additional time is needed to allow the U.S. Trustee to
11
     review the documents when received and to question the Debtor at sessions of the continued 341
12

13
     meeting of creditors.

14          4. Based on the forgoing facts, it is hereby stipulated and agreed that the last day on which the

15   U.S. Trustee can file an adversary proceeding objecting to discharge pursuant to 11 U.S.C. §727 or to
16
     file a motion to dismiss this case under 11 U.S.C. §707(b)(3) is extended from March 10, 2023
17
     through April 30, 2023.
18
                                                  U.S. TRUSTEE FOR REGION 16
19

20   Dated: February 16, 2023                     /s/ Kristin T. Mihelic_
                                                  Kristin T. Mihelic
21
                                                  Attorney for the U.S. Trustee
22

23
                                                  USMAAN MELA,
24
     Dated: February 16, 2023                     _________________________
25                                                Ben Heston,
26
                                                  Attorney for the Debtor

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                                        PROOF OF SERVICE OF DOCUMENT
 1

 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
     OFFICE OF THE U.S. TRUSTEE, 411 W. 4TH STREET, #7160, SANTA ANA, CA 92701
 3
     A true and correct copy of the foregoing
 4
      STIPULATION EXTENDING THE TIME FOR THE U.S. TRUSTEE ONLY TO FILE AN
 5
      ADVERSARY CASE UNDER §727 OR TO FILE A MOTION TO DISMISS CASE UNDER
      §707(b)(3)
 6   will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
     2(d); and (b) in the manner indicated below:
 7
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
 8
     controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the
 9   court via NEF and hyperlink to the document. On February 24, 2023, I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
10   Notice List to receive NEF transmission at the email address(es) indicated below:

11       •    Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
         •    Benjamin Heston bhestonecf@gmail.com,
12
              benheston@recap.email,NexusBankruptcy@jubileebk.net
13       •    United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

14   II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served): On
     February 24, 2023, I served the following person(s) and/or entity(ies) at the last known address(es) in this
15   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
     United States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing
16
     the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
     document is filed.
17

18   SEE SUPPLEMENTAL PROOF OF SERVICE HEREAFTER

19
     III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
20   each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 24, 2023, I served the
     following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
21   method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
     personal delivery on the judge will be completed no later than 24 hours after the document is filed.
22

23            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
24
       February 24, 2023             Tari King                                /s/ Tari King
25
       Date                           Type Name                               Signature
26

27

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